  Case 98-02675-5-DMW                          Doc 14652 Filed 12/12/07 Entered 12/12/07 11:52:36    Page 1
                                                              of 1
Holmes P. Harden, Trustee for IHI
P. O. Box 536
Benson, NC 27504




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ROGER SIMONSON & KATHLEEN SIMONSON
HC 74 BOX 200
SACO, MT 59261




                                                UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF NORTH CAROLINA
                                                        RALEIGH DIVISION

IN RE:                                                       )      CASE NO.: 98-02675-5-ATS
INTERNATIONAL HERITAGE, INC.,                                )
                                                             )      CHAPTER 7
                                                             )
Debtor.                                                      )

                                                             ORDER

        HOLMES P. HARDEN, Trustee, having objected to the claim of Roger Simonson & Kathleen Simonson

designated as claim no. 008402 in the above-captioned case in the amount of $0.00 and having requested denial of

claim, and no response having been filed with the Court in writing after notice;

        IT IS HEREBY ORDERED that the claim of Roger Simonson & Kathleen Simonson, claim no. 008402, is

denied.

SO ORDERED

Signed this 12th day of December, 2007.




                                                                 A. Thomas Small
                                                                 United State Bankruptcy Judge




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